         Case 16-27238          Doc 55      Filed 08/27/18 Entered 08/27/18 10:03:41                     Desc Main
                                              Document     Page 1 of 1



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION


In re:    Yashica L Spellman                                   )         Case No. 16-27238
                                                               )
                                                               )         Chapter 13
                                                               )
SSN: XXX-XX- 9272                               Debtors        )


             AMENDED            ORDER TO EMPLOYER TO PAY THE TRUSTEE

To: City of Chicago
    121 N Clark
    Chicago, Il 60602

         Attn: Payroll Department

WHEREAS, the above named debtor has                   a plan to pay his/her debts out of his/her future earnings,
and by his/her plan submits all of his/her future earnings to the supervision and control of this Court for the
purpose of carrying out the Plan:

NOW IT IS THEREFORE ORDERED, that until further order of this Court, City of Chicago                                            ,
employer of Yashica L Spellman                  , deduct from the earnings of the debtor the sum of $ 2,130.00
each month beginning on the next pay day following the receipt of this order and to pay the sum so deducted to ,




IT IS FURTHER ORDERED, that the employer shall stop or change the deduction upon written notice from the
Trustee;

IT IS FURTHER ORDERED, that the employer shall notify the Trustee if the employment of the debtor is
terminated and the reason for such termination;

IT IS FURTHER ORDERED, that all earnings of the debtor, except amounts required to be withheld by the
provisions of Federal or State law or for insurance, pension or union dues, be paid to the debtor and that no
deduction other than authorized or directed by this order be made by the employer.




Date                       8/27/2018
Entered:
                                                                           stead
                                                                               dt, C
                                                                Jeffrey Allsteadt,  lerk, United States Bankruptcyy Court
                                                                                   Clerk,


              Attorney Signature ______________________                               Date: 08/24/2018



         Check this box if the debtor has agreed to the entry of this order without further notice or hearing through Section
         I of the Chapter 13 Plan.
